Case 1:09-cv-00597-LMB-TCB Document 263 Filed 03/17/11 Page 1 of 1 PageID# 3869



                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                           Alexandria Division




 INTERSECTIONS INC., et al.,              )
                                          )
             Plaintiffs,                  )
                                          )
       v.                                 ) Civil Action No. 1:09cv597
                                          )
 JOSEPH C. LOOMIS, et al.,                )
                                          )
             Defendants.                  )


                                    ORDER

       THIS MATTER comes before the Court on defendant’s Motion to

 Vacate Protective Order. (Dkt. 236).         Upon consideration of the

 pleadings and argument of counsel, the Court finds that the

 Protective Order of October 30, 2009 remains warranted in view of

 Mr. Loomis’ recent efforts to contact plaintiffs’ witnesses.            It

 is hereby

       ORDERED that defendant’s motion is DENIED.

       ENTERED this 17th day of March, 2011.




                                                /s/
                                            THERESA CARROLL BUCHANAN
                                            UNITED STATES MAGISTRATE JUDGE

 Alexandria, Virginia
